        Case 8:19-mj-00241-DUTY Document 3 Filed 03/22/19 Page 1 of 1 Page ID #:203

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                             COURT
        CLARK, U.S. QISTRlCT                                                  OR~GI        I~L


              "~~~.~ 2 2 2019                             ~ ~ ~
                                                 FINDING RE PROBABLE CAUSE

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On       a~ ~"~                       at   :1~   a p.m., Special Agent Remoun Karlous of the

Internal Revenue Service-Criminal Investigation appeared before me

regarding the probable cause arrest of defendant MICHAEL J. AVENATTI,

occurring on March 22, 2019, at Los Angeles, California.

Having reviewed the agent's statement of probable cause, a copy of which

is attached hereto, the Court finds that there exists/does not exist

probable cause to arrest the defendant for a violation of                      Title 18,

United States Code, Sectior4''" ~ -'"~"                      J3~{y~ ~ ~b 13y3

/~/ It is ordered that defendant MICHAEL J. AVENATTI

be held to answer for proceedings under Federal Rule of Criminal Procedure

5 / 40 on ~J ~/~~i Z~~_Q'1~0:00 a.M.


/        / It is ordered that defendant MICHAEL J. AVENATTI

be discharged from custody on this charge forthwith.




DATED:




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